     Case 3:12-cr-04629-WQH   Document 22     Filed 12/04/12   PageID.24   Page 1 of 1



                        UNITED STATES DISTRICT COU
                      SOUTHERN DISTRICT OF CALIFO


UNITED STATES OF AMERICA,                   CASE NO.

                          intiff,
              vs.                           JUDGMENT OF DISMISSAL
ALEJANDRO LIRA (2),

                       Defendant.


          IT APPEARING that the defendant is now ent            led to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 x __ the Court has granted the motion of the Government for dismissal,
      without prejudice; or

     the Court      granted the motion of the defendant for a judgment of
     acqui ttal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guil

__
 X__ of the offense(s) as charged in the Information:

     21 USC 952 and 960; 18 USC 2 - IMPORTATION OF MARIJUANA AND AIDING

     AND ABETTING

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: December 4,   2012                   ~~
                                            J~
                                            U.S. Magistrate Judge
